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EXHIBIT F
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Read the SEC Complaint Against Trendon

Shavers

Support the fight against the SEC. If the SEC is successful in this case it will set a dangerous

a of a the SEC f requiate Bitcoin Exchanors

Read the Case 413-cv OO4I6-RG-ALM Document 42 Fed 0530114 fage 1 of 14 PagelO #: B05

1
Defendants’ Res ponse UNITED STATES DISTRICT COURT

RASTERN DISTRICT OF TEXAS

5 F SHERMAN DIVISION

To the SEC's Motion for seumeswoecunce |
| CIVIL ACTION NO. Andew4t6
. % | Gadge Clarkiiadge Mazzanay
Sanctions ‘TRENDON T, SHAVERS AND /
_BITCOIN SAVINGS AND TRUST }

The SEC has filed a motion for sanctions in an attempt to win this DEFEMDAN TS! HESPONSE. TO ORDER. TO SHINY CAUSE WHE RULES
case without giving Trendon Shavers a fair day in court. This is the SANCTIONS SHOULD S
defenses motion against the SEC's motion for sanctions. A ruling erature

is expected soon.
‘This action, brought by she Secusitios ant Exchange Commission (he

“Coraminsion™ oe the “Government”, i 2 ease of fired iespression in any dictrict. The
sesult of this case tasy establish if the Commission has authority to regula: reas dons
a vittual eurengy. The Coinmnioshos spay argos Defendants’ lick of sition of lock of

production aa the basis for it¢ motion, bul the recon in this Case speaks otherwise. Due 0
she aovet froere is this case, Defendants have not hoen able to acquire legal comnscl entit
wecenaly. have: bees, ie Gefend Courts favor nalings ont

be meting however, the Comission socks to win, effectively by default, on » procedural
defect of “forms” related ta Defendants’ remponers to discovery, dntieadl off on the merits
‘of the alleged claims, The Count should allow this case fo cactinae by sllewing

te cotnpicts disceviry inc thie cunt carve thal Defendants ute casket

Be abvice of counsel

“Tha Court should not impose the nanctions requested by the Commission, The
‘Coounission is already in possession of the same documents it claims Delertdants have
aod to provide. Prior w fiting this action, the Commission suliched Defendants foe

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OFFICE OF
FRANKEIN IAGAN GFIRERT IG

F. J. SEIBERT

Our office works with several legal professionals in the
Willamette Vailey to provide you with the best advocacy
and advice possibte, Our office is small with minimal

overhead and that enables us to keep your costs

manageable.
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TOP STORIES

Posted Sunday, May 25, 2014

SEC v. SHAVERS

SUNDAY MAY 25, 2014

This week an extremely important legal event is happening in bitcoin in Texas. The SEC v Shavers case-filing deadline is on Friday
May 30th.

The Securities and Exchange Commission is charging Trendon Shavers with operating an alleged ponzi scheme. There are many
people in the bitcoin community that are upset with Shavers for losing their funds at the Bitcoin Savings and Trust (“BTCST’), formerly
known as First Pirate Savings & Trust. Regardless if you're upset with Shavers over this, you should be concerned about this case
because it will have FAR reaching consequences for the bitcoin community outside of Shavers.

The case the SEC is bringing forward — if won- would establish a very dangerous precedent that says anyone exchanging bitcoin *
could be SELLING SECURITIES, thus subject to SEC regulation, SEC scrutiny, SEC investigation, and SEC legal action.

This would include peer-to-peer bitcoin exchanging, all trades at Shotoshi Square in NYC, miners selling bitcoin, basically anyone that
touches bitcoin and later trades or sells it would be under the scrutiny of the SEC. If you're not registered with the SEC — or if you have
engaged in these types of activities in the past without being registered - you could be fined tens of thousands of dollars per
transaction, or worse, jail.

The SEC moved the court to impose sanctions against Schavers for effectively failing to provide information the SEC already has. If
sanctions are granted by the court, he won't get the chance to present a defense to this case — which means Shavers would
automatically be found liable — unless he meets this Friday’s filing deadline, presents an argument against sanctions, and convinces
the court to hear this issue on the merits.

To make matters worse, the SEC and the court froze all of Shavers’ assets so Shavers has no way to hire an attorney to help file the
paperwork due on Friday.

After recognizing the importance of this case, Jason Seibert of FJ Seibert Law stepped in on May 20, 2014, and agreed to take the
case on a donations basis.

| cannot emphasize enough the importance of this case. To make a donation to pay for legal fees were accepting bitcoin, litecoin, and
dogecoin.

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DOGE: DNWrU81Rn6y7XfBjZPotqdhVpxXDGxtZqhC

LTC: LaDzpezMp3j4Ly2bDqfQiURKLZCekK8j142

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